  Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 1 of 8




                         Exhibit 4



Def Con Website: Open Calls and Guide




                                                                    Page 32
Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 2 of 8




                                                                  Page 33
Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 3 of 8




                                                                  Page 34
                        Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 4 of 8
DEF CON® 31 Hacking Conference - Call for Exhibitors                                      10/15/23, 8:35 PM




       DEF CON 31 Call for
       Exhibitors
           Theme & Style Guide
           COVID-19 Policy
           Call Index

           Call for Exhibitors is Now Closed
           We're trying something new for DEF CON 31 and adding a dedicated
           space for exhibitors. Some companies and organizations don't have a
           physical thing to sell and don't fit in our Vendor room but still have
           something to oﬀer our attendees.

           Being an exhibitor means you want to connect with, and give back to, our
           community. We want to see exhibitors at DEF CON that DEF CON attendees

https://defcon.org/html/defcon-31/dc-31-cfe.html                                                Page 1 of 4

                                                                                               Page 35
                        Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 5 of 8
DEF CON® 31 Hacking Conference - Call for Exhibitors                                               10/15/23, 8:35 PM



           want to see. Looking to get feedback from existing customers, recruit new
           talent or demo a new product relevant to our community? This is your
           opportunity.

           If this sounds like something you or your company are interested in, please
           email exhibitors[at]defcon.org with any questions you may have.



           F.A.Q.
           What are Exhibitors?
           Exhibitors are businesses within the Information Security space who wish to
           engage with the DEF CON community. In previous years, our Exhibitors
           would have been located within the Vendor space, but we feel it would
           benefit our vendors, exhibitors, and attendees to provide Exhibitors their
           own space to attract the right audience.

           How are Exhibitors diﬀerent than Vendors?
           Vendors mostly come from the community and sell wares. Attendees walk
           into the Vendor space, they give cash to a vendor and walk away with
           something shiny. Exhibitors are businesses from all parts of the information
           security space who are more interested in attracting talent for their teams,
           connecting with existing customer bases, or making their oﬀerings known to
           the community.

           What does the DEF CON community get from Exhibitors?
           DEF CON gets fantastic community-focused businesses who bring
           opportunities to our attendees. The more important question is what else
           does the community get from Exhibitors?


               A portion of the proceeds from each exhibitor booth will be donated to a pre-
               approved, non-profit organizations, of the exhibitors choice. Each exhibitor will


https://defcon.org/html/defcon-31/dc-31-cfe.html                                                         Page 2 of 4

                                                                                                        Page 36
                        Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 6 of 8
DEF CON® 31 Hacking Conference - Call for Exhibitors                                         10/15/23, 8:35 PM



               display where their donations are going.
               With top tier Exhibitor packages, a portion of the proceeds will go towards
               sponsoring a DEF CON party in the name of the exhibitor. Think in years past when
               there was an annual DEF CON / IOActive Party.


           What do Exhibitors get from DEF CON?
           Exhibitors will be able to engage with our attendees in a more traditional
           format of tables and booths. Exhibitors will also have premium opportunities
           for community engagement through parties and other events that require
           evening event space.

           In addition to a ready-to-go setup, they’ll receive personalized guidance and
           advice from the DEF CON exhibitors team on how to best engage with the
           DEF CON community. DEF CON is a unique community that is not always
           simple to engage with, we are the hacking community at its most grass
           roots. We strive to represent the individual hacker, researcher, and academic
           in their most pure, unadulterated form. Our Exhibitor staﬀ is comprised of
           veteran DEF CON attendees and long-time members of the community who
           can provide your company with practical advice for engagement with the
           community, and help your team understand what to expect from our
           community.

           What don't Exhibitors get from DEF CON?
           DEF CON does not share any attendee contact information with Vendors or
           give them access to any private or confidential information. Attendees
           decide what to reveal about themselves when talking with an exhibitor.


           Top of Page




https://defcon.org/html/defcon-31/dc-31-cfe.html                                                   Page 3 of 4

                                                                                                   Page 37
                        Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 7 of 8
DEF CON® 31 Hacking Conference - Call for Exhibitors                                      10/15/23, 8:35 PM




          © 1992-2023 DEF CON Communications, Inc. All Rights Reserved | DEF CON Policies |
                                     DMCA Information




https://defcon.org/html/defcon-31/dc-31-cfe.html                                                Page 4 of 4

                                                                                               Page 38
Case 2:23-cv-01932-BAT Document 14-5 Filed 10/16/23 Page 8 of 8




                                                                  Page 39
